978 F.2d 1255
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Flossie W. NZONGOLA, Plaintiff-Appellant,v.QUALITY TRANSMISSION;  Gary Doe, Owner, QualityTransmission;  State of South Carolina, Department ofConsumer Affairs, Division of Consumer Advocacy;  GreenvilleCounty, Department of Consumer Affairs;  Commission onConsumer Affairs;  Human Relations Commission;  Julia Adams;The District of Columbia, Public Works Department, ParkingEnforcement Division, Defendants-Appellees.
    No. 92-1959.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  October 26, 1992Decided:  November 6, 1992
    
      Appeal from the United States District Court for the District of South Carolina, at Columbia.  Solomon Blatt, Jr., Senior District Judge.  (CA-92-1703-3-8AJ)
      Flossie W. Nzongola, Appellant Pro Se.
      D.S.C.
      Affirmed.
      Before ERVIN, Chief Judge, and RUSSELL and WIDENER, Circuit Judges.
      PER CURIAM:
    
    OPINION
    
      1
      Flossie W. Nzongola appeals from the district court's order dismissing her civil action without prejudice.  Our review of the record and the district court's opinion accepting the recommendation of the magistrate judge discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Nzongola v. Quality Transmission, No. CA-92-1703-3-8AJ (D.S.C. July 23, 1992).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    